Case: 1:18-cv-04651 Document #: 109 Filed: 10/24/18 Page 1 of 1 PageID #:2545

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Weifang Tengyi Jewelry Trading Co. Ltd
                                               Plaintiff,
v.                                                           Case No.: 1:18−cv−04651
                                                             Honorable Gary Feinerman
ExtraFind, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 24, 2018:


        MINUTE entry before the Honorable Gary Feinerman:Motion hearing held. Status
hearing set for 11/14/2018 at 9:30 a.m. Attorneys or any party who wish to participate by
telephone at the 11/14/2018 hearing should call Toll−Free Number: (877) 336−1828,
Access Code: 4082461. For the reasons stated on the record, Plaintiff's motion for recusal
[97] is denied. At its request, and over Defendant Intuii's objection, Plaintiff may file a
supplemental brief in opposition to Defendant Intuii#039;s motion for damages [30] by
11/7/2018. At today's hearing, Plaintiff's counsel directed questions to the court regarding
the process by which it considered and entered the TRO [16]. Those questions were
inappropriate; as a matter of principle, courts do not discuss with parties the process by
which they consider, draft, and enter particular orders or opinions. Although no citation is
necessary for this proposition, see generally Thomas v. Page, 837 N.E.2d 483, 488−93
(Ill. App. 2005).Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
